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 Plaintiffs’ Co-Lead Counsel                    Attorneys for Defendant Facebook, Inc.
 Additional counsel listed on signature page    Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                    STIPULATION AND [PROPOSED]
                                                    ORDER FOR EXTENSION OF TIME TO
This document relates to:                           SUBMIT MOTION FOR PRELIMINARY
                                                    APPROVAL OF CLASS ACTION
ALL ACTIONS                                         SETTLEMENT




     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                   CASE NO. 3:18-MD-02843-VC
       By and through their respective undersigned counsel, the parties submit this joint request

for a short extension of time to finalize a written class action settlement agreement and submit it

to the Court for preliminary approval.

       1.      Whereas, on August 26, 2022, the parties notified the Court that they had reached

a settlement in principle of the consolidated action In re: Facebook, Inc. Consumer Privacy User

Profile Litigation, Case No. 3:18-md-02843-VC (the “Action”) and requested a stay of the Action

for 60 days to allow them to finalize a written settlement agreement and present it to the Court for

preliminary approval (Dkt. 1014);

       2.      Whereas, on August 26, 2022, the Court granted that request in part, staying all
deadlines except for a hearing on Plaintiffs’ sanctions motion (Dkt. 1015);

       3.      Whereas, the parties have been working diligently and have made significant

progress, and have determined that they need additional time to finalize a written settlement

agreement and submit it to the Court for preliminary approval;

       NOW, THEREFORE, THE PARTIES JOINTLY REQUEST, through their respective

counsel, that the stay of the Action remain in effect and that they have until December 16, 2022,

to finalize a written settlement agreement and present to the Court for preliminary approval.

Dated: October 19, 2022                                  Respectfully submitted,


KELLER ROHRBACK L.L.P.                                   BLEICHMAR FONTI & AULD LLP

By:    Derek W. Loeser                                   By:     Lesley E. Weaver
       Derek W. Loeser                                           Lesley E. Weaver

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      STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                    CASE NO. 3:18-MD-02843-VC
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 DATED: October 19, 2022                          Respectfully submitted,

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     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
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Attorneys for Defendant Facebook, Inc.


PURSUANT TO STIPULATION, IT IS SO ORDERED.




DATE: ____________________                        ___________________________________

                                                  VINCE CHHABRIA
                                                  United States District Judge




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    STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                  CASE NO. 3:18-MD-02843-VC
                                SIGNATURE ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

has been obtained.

Dated: October 19, 2022                                     By: Derek Loeser
                                                                Derek Loeser




     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                   CASE NO. 3:18-MD-02843-VC
                                CERTIFICATE OF SERVICE

       I, Sarah Skaggs, hereby certify that on October 19, 2022, I electronically filed the forego-

ing with the Clerk of the United States District Court for the Northern District of California using

the CM/ECF system, which shall send electronic notification to all counsel of record.

                                                             By: Sarah Skaggs
                                                                 Sarah Skaggs




4894-0913-1066, v. 3




      STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                    CASE NO. 3:18-MD-02843-VC
